 Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 1 of 14 PageID #:59322




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

        MICHAEL L. SHAKMAN, et al.,                )
                                                   )
                    Plaintiffs,                    )           Case No. 69 C 2145
                                                   )
                        v.                         )
                                                   )
         COOK COUNTY CLERK, et al.,                )
                                                   )
                   Defendants.                     )


              PLAINTIFFS’ RESPONSE TO MOTION TO QUASH SUBPOENA

        Plaintiffs Michael L. Shakman et al. (“Plaintiffs”), by their counsel, submit this Response

to the Memorandum of Law in Support of Motion to Quash Subpoena Issued to Citizens to Elect

Karen Yarbrough (“CEKY”) (Docket No. 6731) (“Motion”). CEKY accuses Plaintiffs of trying

to get around the Court’s decision to post-pone a determination of whether Clerk Yarbrough’s

deposition was necessary by issuing a subpoena to non-party CEKY. That simply is not accurate.

At the December 10, 2019 hearing in chambers when the Court put-off allowing Clerk

Yarbrough’s deposition, Plaintiffs discussed the need to serve a Rule 30(b)(6) deposition on

CEKY. The Court granted Plaintiffs’ request for a Rule 30(b)(6) deposition from CEKY.

        CEKY can designate whomever it wants to serve as its representative – Karen Yarbrough

(CEKY’s Treasurer), Henderson Yarbrough (CEKY’s President), or one of the individuals who

acted on behalf of CEKY. In response to Plaintiffs’ document subpoena, CEKY produced

contacts from CEKY’s Constant Contact database and a number of solicitations and

announcements about political fundraisers and campaign events that were sent to the contacts in

that database. Some of these solicitations and announcements stated that they were paid for by




82480008v.1
 Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 2 of 14 PageID #:59323




CEKY. These materials reflected that the attendees were to RSVP to CEKY, and all donations

were to be paid to CEKY.

        CEKY denies that it has any members or volunteers. CEKY would have this Court

believe that CEKY can act on its own without human agents. This is nonsense. Individuals

acting on behalf of CEKY as its agents created the CEKY database of contacts. These

individuals created invitations and announcements to promote fundraisers and campaign events

for the direct benefit of CEKY. They sent the invitations and announcements to the contacts in

the CEKY database. They received RSVPs from attendees, paid the bills associated with

CEKY’s activities, and cashed the checks or deposited cash donations into CEKY’s account.

One of those people can testify on CEKY’s behalf.

        CEKY’s testimony is also relevant to the issues that will be presented at the evidentiary

hearing. Although CEKY argues that the documents it produced speak for themselves,

documents cannot actually speak for themselves. For example, a witness is needed to explain

how the Constant Contact database was created and maintained, who sent the various invitations

to political events, to whom the invitations were sent. The Court should deny CEKY’s Motion

and order CEKY to produce a witnesses before March 6, 2020.

                                        INTRODUCTION

        The pertinent facts and procedural history associated with Plaintiffs’ 30(b)(6) deposition

subpoena to CEKY (the “Subpoena”) have been extensively chronicled in the Plaintiffs’ Motion

to Compel Rule 30(b)(6) Testimony (Docket No. 6726) (“Plaintiffs Motion to Compel”). For the

sake of brevity, the Plaintiffs incorporate by reference as if fully set forth herein the Background

section (pages 1 through 4) contained in Plaintiffs’ Motion to Compel.




                                                 2

82480008v.1
    Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 3 of 14 PageID #:59324




         Like it did in its prior motion to quash (Dkt. No. 6529)1, CEKY has adopted a “kitchen

sink” approach to its efforts quash the Subpoena. CEKY argues that the Subpoena should be

quashed because: (1) the method of service was improper; (2) compliance would be unduly

burdensome; (3) the Subpoena seeks information that can be obtained from other sources; (4) the

Subpoena fails to describe the topics for deposition with particularity; and (5) the Court lacks

subject matter jurisdiction. CEKY’s arguments lack merit and the Motion should be denied.

                                            ARGUMENT

I.       CEKY failed to comply with Local Rule 7.1.

         Local Rule 7.1 provides, in pertinent part, that briefs submitted to the court may not

exceed 15 pages in length without prior approval of the court, and that any brief in excess of 15

pages must contain a table of contents and a table of cases. See N.D. Ill. L.R. 7.1. Here, without

seeking leave of court, CEKY filed an oversized brief and failed to include a table of contents

and a table of cases. (Dkt. No. 6731.) Compliance with the Local Rules is not discretionary.

Koszola v. Bd. of Educ., 385 F.3d 1104, 1109 (7th Cir. 2004); Midwest Imports, Ltd. v. Coval, 71

F.3d 1311, 1316 (7th Cir. 1995). The Court can, and should, strike or deny CEKY’s motion to

quash on this basis alone. See N.D. Ill. L.R. 7.1 (noting that courts can strike oversized briefs).

II.      The Subpoena was properly served.

         The U.S. Post Office hand delivered the Subpoena to CEKY on January 31, 2020.

Henderson Yarbrough, CEKY’s President, signed the return receipt and accepted the delivery.

(Ex. A.) CEKY nevertheless urges the Court to quash the Subpoena because it was not hand-

delivered to CEKY by a formal process server. (Motion at 4-5.) CEKY’s argument lack merit.



1
 The Court rejected each of the five arguments advanced by CEKY to quash the Plaintiffs’ document
subpoena. The Court did, however, limit the prior subpoena to “the timeframe of 2017 to the present, and
must focus on Clerk’s Office employees and applicants.” (Dkt. No. 6583.)

                                                   3

82480008v.1
 Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 4 of 14 PageID #:59325




        Rule 45 of the Federal Rules of Civil Procedure provides:

        Any person who is at least 18 years old and not a party may serve a subpoena.
        Serving a subpoena requires delivering a copy to the named person and, if the
        subpoena requires that person's attendance, tendering the fees for 1 day's
        attendance and the mileage allowed by law.

Fed. R. Civ. P. 45(b)(1). As with any other Federal Rule, Rule 45 “should be construed,

administered, and employed by the court and the parties to secure the just, speedy, and

inexpensive determination of every action and proceeding.” Fed. R. Civ. P. 1.

        Nothing in Rule 45 suggests that personal, in-hand service by a formal process server is

required to effectuate “delivery” to the person or entity named in the subpoena. Doe v.

Hersemann, 155 F.R.D. 630, 630 (N.D. Ind. 1994). Here, a mail carrier more than 18 years old

that is not a party to this action “delivered” the Subpoena to CEKY’s president, who signed and

accepted the delivery. (Ex. A.) This is all Rule 45 requires. Doe, 155 F.R.D. at 630.

        As the Doe court observed, when the drafters of the Federal Rules wanted to require more

formal “personal service” of a pleading or paper, they knew how to do so unambiguously. Id. at

at 631. Rule 4(e)(1) describes “personal service” as “delivering a copy of the summons and of

the complaint to the individual personally.” Fed. R. Civ. P. 4(e)(1) (emphasis added). To read

the word “personally” into Rule 45 would render the use of “personally” in Rule 4(e)(1) “pure

surplusage,” a practice not advocated. Doe, 155 F.R.D. at 631 (“[T]he drafters knew how to

indicate a personal service requirement and ... they chose not to do so when they created Rule

45.”). Moreover, to conclude that Rule 45 requires personal service by a process server would

drive up the expense of litigation, which would violate the requirement that the Rules be

construed to “secure the just, speedy, and inexpensive determination of every action and

proceeding.” Fed. R. Civ. P. 1; see also Sec. & Exch. Comm’n v. Pence, 322 F.R.D. 450, 454

(S.D.N.Y. 2017) (holding that Rule 45 permits service of subpoenas by means other than


                                                4

82480008v.1
 Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 5 of 14 PageID #:59326




personal service); Ultradent Prods., Inc. v. Hayman, No. M8-85 RPP, 2002 WL 31119425, at

*3-4 (S.D.N.Y. Sep. 24, 2002) (holding that service by certified mail is appropriate); Western

Resources, Inc. v. Union Pac. Railroad Co., No. 00-2043-CM, 2002 WL 1822432, at *2-3 (D.

Kan. Jul. 23, 2002) (holding that delivery of subpoena by Federal Express was sufficient); King

v. Crown Plastering, 170 F.R.D. 355 (E.D.N.Y.1997) (in-hand delivery is not required so long as

service is made in a manner that reasonably insures actual receipt of the subpoena).

        CEKY exaggerates the holding in Parker v. Four Seasons Hotels, Ltd., 291 F.R.D. 181,

188-89 (N.D. Ill. 2013). That court held that service via certified mail to an address more than

100 miles from the courthouse is invalid. Id. While the court in Parker did state that service by

certified mail was insufficient, the court did not engage in any analysis to support that

conclusion. Thus, the opinion in Parker should not persuade.

        CEKY also complains that the Subpoena should be quashed because it does not allow

sufficient time for CEKY to comply. (Motion at 5.) Plaintiffs mailed the subpoena on January

22, 2020. CEKY admitted that the post office delivered the Subpoena on January 31, 2020 and

that the Plaintiffs and CEKY agreed that the deposition would not go forward on the original

return date of February 5, 2020. (Motion at 5.) CEKY has had the Subpoena for over three

weeks now and should be required to comply with the Subpoena.

III.    The Subpoena is not overbroad nor unduly burdensome.

        The party seeking to quash a subpoena bears the burden of demonstrating that the

subpoena is overbroad, duplicative, or unduly burdensome. Wi-LAN, Inc. v. LG Elecs., Inc., No.

10 CV 7721, 2011 WL 148058, at *2 (N.D. Ill. Jan. 18, 2011); In re Subpoena Upon Nejame

Law, PA., No. 16-cv-4619, 2016 WL 3125055, at *4 (N.D. Ill. June 3, 2016). By affidavit or

other evidence, a party asserting undue burden must show such burden through “a particular and



                                                 5

82480008v.1
 Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 6 of 14 PageID #:59327




specific demonstration of fact, as distinguished from stereotyped and conclusory statements.’”

Papst Licensing GmbH & Co. KG v. Apple, Inc., No. 17 C 1853, 2017 WL 1233047, at *3 (N.D.

Ill. Apr. 4, 2017) (citations omitted). The factors courts analyze to determine whether the

subpoena imposes an undue burden are: “the person’s status as a non-party, the relevance of the

discovery sought, the subpoenaing party’s need for the documents, the breadth of the requests

and the burden imposed on the subpoenaed party.” Parker, 291 F.R.D. at 188 (citations

omitted). Using these factors as a guide, it becomes patently clear that CEKY has failed to

establish an undue burden.

        A.     Non-Party Status

        CEKY argues that its mere status as a nonparty renders compliance with the Subpoena

unduly burdensome. (Motion at 6.) CEKY’s status as a non-party, without more, is not

conclusive evidence of an undue burden, and courts in this district regularly enforce subpoenas

against non-parties. Thayer v. Chiczewski. 257 F.R.D. 466, 470 (N.D. Ill. 2009) (rejecting

undue burden argument and enforcing the subpoena in part); In re: Subpoena Upon Nejame Law,

PA., No. 16-CV-4619, 2016 WL 3125055, at *4 (N.D. Ill. June 3, 2016) (denying motion to

quash merely because the subpoena was directed to a non-party).

        CEKY’s brief identifies one burden: a 30(b)(6) deposition would be based on CEKY’s

knowledge and would require additional preparation. (Motion at 7.) True, but irrelevant. Rule

30(b)(6) expressly provides that a Rule 30(b)(6) deposition could be compelled through a

subpoena. Fed. R. Civ. P. 30(b)(6) (“In its notice or subpoena, a party may name as the deponent

a public or private corporation . . .”) The Advisory Committee notes further explain that: “a

subpoena may name a non-party organization as the deponent and may indicate the matters about

which discovery is desired. In that event, the non-party organization must respond by designating



                                                6

82480008v.1
 Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 7 of 14 PageID #:59328




natural persons, who are then obliged to testify as to matters known or reasonably available to

the organization.” Fed. R. Civ. P. 30, 1971 Advisory Committee Notes. Courts routinely

enforce subpoenas for 30(b)(6) depositions. Prouty v. Thippanna, No. 4:17-CV-40126-TSH,

2019 WL 267465, at *2 (D. Mass. Jan. 18, 2019) (denying non-party’s motion for protective

order for 30(b)(6) testimony). Moreover, this Court already has held that the Plaintiffs could

take a 30(b)(6) deposition of CEKY. Therefore, the mere fact that a Rule 30(b)(6) deposition

requires additional preparation is not a valid basis to quash the Subpoena.

        CEKY argues that deposition topics 8, 9, and 10 are improper topics for CEKY’s

30(b)(6) witness(es). (Motion at 8.) Similarly, the Clerk moved for a protective order on these

topics, arguing that testimony on these topics will be provided by the Clerk’s Office’s 30(b)(6)

witness. (Dkt. No. 6734 at 2.) Both CEKY and the Clerk’s Office misunderstand the focus of

these topics. Plaintiffs are not seeking testimony from CEKY to establish the Clerk’s Office

hiring policies. Plaintiffs seek to uncover what CEKY knew about those practices and how to

influence hiring decisions. The Clerk’s Office has admitted that it filled a number of positions

without posting the position to the public or going through a competitive process. Plaintiffs

would like to explore whether CEKY knew about these non-public job openings, and if CEKY

did anything to promote these openings to volunteers or contributors.

        As the Court is aware, in 2017, the OIIG issued a report finding that a high-ranking

Shakman-Exempt employee of the Recorder of Deeds routinely would announce job openings at

events promoted by CEKY and encourage the volunteers to apply. (Ex. B at 9.) The OIIG

concluded that the Shakman-Exempt employee’s recruitment activities “establishes an

association or nexus between the Recorder of Deeds’ political organization and [Recorder of

Deeds] employment.” (Id.; Dkt. No. 4985 [4/21/17 RCA Report] at 13-15 and Dkt. No. 5220



                                                 7

82480008v.1
 Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 8 of 14 PageID #:59329




[10/5/17 RCA Report] at 12-15 (discussing the OIIG’s report and discussing Mrs. Yarbrough and

her staff’s failure to cooperate with the OIIG’s investigation). The same Shakman-Exempt

employee that recruited employees at political events is now a high-ranking member of the

Clerk’s Office, and this employee’s name appears in CEKY’s contact database. Plaintiffs are

entitled to explore whether this practice has continued after the Recorder became the Clerk.

        CEKY also argues that “if a non-party corporation genuinely cannot provide an

appropriate designee because it does not have that information, cannot reasonably obtain it from

other sources and still lacks sufficient knowledge after reviewing all available information, then

its obligations under the Rule cease.” (Motion at 8.) The Plaintiffs have no quarrel with this

proposition in general, but CEKY’s argument is inapplicable here. In his affidavit submitted

with the Motion, CEKY’s President states:

        The only records and reports maintained by CEKY are those required by the
        [Illinois Campaign Disclosure] Act. CEKY does not maintain files of fundraisers,
        events or other activities sponsored by third parties on behalf of Karen Yarbrough
        nor does it maintain copies of Nominating Petitions circulated on the candidate’s
        behalf.

(Dkt. No. 6731-2 [H. Yarbrough Aff.] ¶ 4.) This statement begs the question: who maintains the

files for fundraisers and other events that are sponsored solely for the benefit of Mrs.

Yarbrough’s political campaign? CEKY can, and under the Rules it must, obtain information

from its third-party agents in order to provide the requested 30(b)(6) testimony.

        For example, CEKY produced numerous campaign announcements and fundraising

materials. See e.g. Ex. C. These documents were sent by someone acting on CEKY’s behalf as

its agent and were sent to individuals in CEKY’s database. In some cases, the documents direct

individuals to RSVP to citizensforkarenyarbrough@gmail.com. (Id.) Someone had to process

those RSVPs on CEKY’s behalf. Donations were payable to CEKY for the benefit of CEKY.

One solicitation states on its face that is was “PAID FOR BY CITIZENS FOR YARBROUGH.”

                                                 8

82480008v.1
 Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 9 of 14 PageID #:59330




(Id.) This particular solicitation was emailed to a number of Clerk’s Office employees and was

forwarded to at least one non-exempt employee.

        Plaintiffs are entitled to ask CEKY to designate a witness who can testify about a

solicitation paid for by CEKY, sent on behalf of CEKY, to individuals in CEKY’s database, who

then sent RSVP’s to CEKY to raise money for CEKY. CEKY must designate an individual to

testify on its behalf, even if the individual was also acting as an agent for the Proviso Township

Democratic Organization or an employee of the Clerk’s Office. Great Amer. Ins. Co. of N.Y. v.

Vegas Constr. Co., 251 F.R.D. 534, 541 (D. Nev. 2008) (responding party obligated “to educate

an appropriate Rule 30(b)(6) designee to provide knowledgeable answers reasonably available to

the corporation, which include information ascertainable from project files and documents in the

repository, information from past employees, witness testimony and exhibits, or any other

sources available to the corporation, including factual information learned through or from its

counsel.”); Calzaturficio S.C.A.R.P.A. s.p.a. v. Fabiano Shoe Co., 201 F.R.D. 33, 39 (D. Mass.

2001) (“I find that the Fabiano sons, in preparing to be deposed as 30(b)(6) representatives of the

company, had the obligation to review all documents that were in their control, including the tax

returns and related documents that were in the physical possession of Fabiano’s accountant.”).

        Furthermore, political campaigns are the direct beneficiaries of political patronage and

discrimination. While CEKY is not a party to the case, it would have benefitted from pressure

being placed on Clerk employees to donate money to, or perform work for, CEKY. For this

additional reason, CEKY’s status as a non-party cannot shield CEKY from discovery.

        B.     Relevance of Discovery Sought

        Rule 26 provides that “[p]arties may obtain discovery regarding any non-privileged

matter that is relevant to any party’s claim or defense and proportional to the needs of the case.”



                                                 9

82480008v.1
Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 10 of 14 PageID #:59331




Fed. R. Civ. P. 26(b)(1). The “scope of discovery through a subpoena is the same as that

applicable to . . . the other discovery rules.” Fed. R. Civ. P. 45, 1970 Advisory Committee Note;

Nejame, 2016 WL 3125055, at *2. “The burden rests upon the objecting party to show why a

particular discovery request is improper.” Kodish v. Oakbrook Terrace Fire Prot. Dist., 235

F.R.D. 447, 450 (N.D. Ill. 2006). CEKY is required to provide more than just conclusory

statements that the requested testimony is irrelevant. “To meet this burden, the objecting party

must ‘specifically detail the reasons why each [request] is irrelevant.’” Williams v. Blagojevich,

No. 05 C 4673, 2008 WL 68680, at *3 (N.D. Ill. Jan. 2, 2008) (citation omitted). This, CEKY

did not do, and cannot do. CEKY does not even try to argue that the testimony requested in the

Subpoena is irrelevant. Accordingly, the Court should conclude that the deposition topics are

relevant to Plaintiffs’ allegations that the Clerk and CEKY have engaged in prohibited

solicitation of Clerk employees.

        C.     Breadth

         CEKY argues that the Subpoena is overbroad because it fails to specify a timeframe for

certain communications. (Motion at 12-13.) This argument is disingenuous. At the February

13, 2020 conference call, Plaintiffs made clear that the applicable timeframe for all deposition

topics is January 1, 2017 to the present, the same time period found to be reasonable by the Court

during the October 30, 2019 hearing on CEKY’s motion to quash the document subpoena. (Dkt.

No. 6583.) Plaintiffs reiterated this point in its motion to compel. (Dkt. No. 6726 at 5 n.1.)

IV.     Plaintiffs cannot obtain the relevant testimony from any other source.

        This Court expressly authorized discovery into Plaintiffs’ allegations that the Clerk’s

Office violated the County Clerk Decrees by soliciting campaign contributions to Clerk

employees. Plaintiffs have served interrogatories and document requests on the Clerk’s Office



                                                10

82480008v.1
Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 11 of 14 PageID #:59332




designed to elicit this information. However, the Clerk’s Office has denied having records of

who has been contributing to, and volunteering for, CEKY. It also denied that it has access to

records of solicitations from CEKY or its agents. As a result, the Subpoena to CEKY is

unavoidable. Mrs. Yarbrough in her capacity as Treasurer of CEKY cannot shield evidence

relevant to determining whether Mrs. Yarbrough in her official capacity as the County Clerk

violated the County Clerk Decrees.

V.      The deposition topics are described with sufficient particularity.

        CEKY’s brief identifies four deposition topics that, in CEKY’s view, are not described

with particularity:

        Topic 1: The allegations set forth in Plaintiffs’ Motion for Supplemental Relief in
        this matter, Dkt. No. 6486.

        Topic 11: Communications among, by or between any CEKY officer, member,
        or volunteer, the Clerk’s Office, and any Clerk employee, with respect to:

               (a) Fundraising Activity

               (b) Fundraising Events * * *

               (c) Election Petitions

               (d) Phone banks/banking

               (e) Voter canvassing

               (f) Getting out the vote efforts

               (g) Political volunteering or similar political activity

        Topic 14: Communications from any CEKY officer, member or volunteer and
        Clerk employees on their personal electronic devices, including their personal
        social media and personal emails.

        Topic 21: The relationship between CEKY and the Proviso Township
        Democratic Organization (PTDO).




                                                  11

82480008v.1
Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 12 of 14 PageID #:59333




(Motion at 14.) However, in his affidavit, CEKY’s President purports to respond substantively

to each of these topics. (Dkt. No. 6731-2 [H. Yarbrough Aff.] ¶ 14.) Notably, Mr. Yarbrough

did not say these topics were not described with sufficient particularity.

        The four topics are described with sufficient particularity. As for the first topic, CEKY

has admitted that it is aware of the allegations in the Motion for Supplemental Relief that the

Clerk’s Office has violated the County Clerk Decrees in four different ways. (Motion at 10 n.3.)

The Plaintiffs are entitled to inquire about what CEKY knows about the facts alleged in the

Plaintiffs’ motion. For example, if CEKY has knowledge about political solicitations being sent

to Clerk’s Office employees, then Plaintiffs should be able to inquire about CEKY’s knowledge.

        Topics 11 and 14 are crystal clear. If CEKY is communicating with Clerk’s Office

employees about political activities and fundraising, whether by email, text message, or social

media, then CEKY must testify about these communications. The testimony should include

communications sent through CEKY’s agents. (See discussion and cases cited infra at 8-9.)

        Finally, as for topic 21, CEKY asserts that it has no function other than to accept money

from donors, pay out expenses and submit financial reports to the appropriate authorities. (Dkt.

No. 6731-2 [H. Yarbrough Aff.] ¶¶ 2-4.) However, Mr. Yarbrough has admitted that Proviso

Township Democratic Organization (“PTDO”) provides “volunteer, fundraising, and other

assistance” to CEKY. (Id. at ¶ 14.n.) Plaintiffs seek further information about PTDO’s activities

on behalf of CEKY, particularly as it relates to Clerk’s Office employees.

VI.     The Court does not lack subject matter jurisdiction over this dispute.

        CEKY asks the Court to quash the Subpoena on standing and justiciability grounds.

(Motion at 14-16.) Plaintiffs have already refuted these arguments. (Dkt. No. 6669.) Plaintiffs

need not refute those arguments again here.



                                                 12

82480008v.1
Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 13 of 14 PageID #:59334




                                       CONCLUSION

        For all of the foregoing reasons, CEKY’s Motion should be denied and CEKY should be

ordered to produce a witness prior to March 6, 2020.

Dated: February 24, 2020                    Respectfully submitted,

                                            Michael L. Shakman, et al.


                                            By:    /s/ Brian I. Hays
                                                   One of Their Attorneys

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                                              13

82480008v.1
Case: 1:69-cv-02145 Document #: 6738 Filed: 02/24/20 Page 14 of 14 PageID #:59335




                                 CERTIFICATE OF SERVICE

        I, Brian I. Hays, an attorney, hereby certify that on the 24th day of February, 2020, I

caused a true and correct copy of the foregoing PLAINTIFFS’ RESPONSE TO MOTION TO

QUASH SUBPOENA to be filed via the ECF System for the United States District Court for the

Northern District of Illinois, which sent notice of such filing upon all ECF-registered

participants.



                                                      /s/ Brian I. Hays




                                                 14

82480008v.1
